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                              PROPOSED ORDER
        DEFENDANTS MOTION AND PROPOSED  ORDER TO PERMIT TRIAL
                                              TO PERMIT TRIAL TECHNICIAN’S
                                                              TECHNICIAN'S
                           USE OF CERTAIN TECHNOLOGY
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 1                          UNITED STATES DISTRICT COURT
 2                       SOUTHERN DISTRICT OF CALIFORNIA
 3
      UNITED STATES OF AMERICA,                 CASE NO.: 18-CR-4683-GPC
 4
                         Plaintiff,             Honorable Gonzalo P. Curiel
 5
            v.                                  DEFENDANTS MOTION AND
 6                                              PROPOSED ORDER TO PERMIT
      JACOB BYCHAK, et al.,                     DEFENDANTS’ TRIAL
                                                DEFENDANTS' TRIAL
 7                                              TECHNICIAN’S
                                                TECHNICIAN'S USE
                                                             USE OF CERTAIN
                                                                 OF CERTAIN
                         Defendant.             TECHNOLOGY
 8
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10          Defendants jointly
            Defendants jointly move
                               move to
                                    to request
                                       request the
                                               the Court’s permission to
                                                   Court's permission to allow their trial
                                                                         allow their trial
11    graphics technician to use an external monitor during trial.
12          Defendants have jointly retained Mr. Vineet Dua from the firm IPro to serve
13    as a trial graphics technician for the duration of trial. Mr. Dua will assist the
14    Defendants with their presentation of opening statements, evidence, and closing
15    arguments by displaying powerpoints, documents, and other demonstratives during
16    attorney presentations. As part of his assistance, Mr. Dua would like to use his own
17    small computer monitor (approximately 22 inches diameter) that attaches to his
18    laptop. The monitor would be solely limited to use by Mr. Dua so that he can prepare
19    the next
      the next document
               document to
                        to be
                           be shown
                              shown and
                                    and would
                                        would at all times
                                              at all times remain
                                                           remain at
                                                                  at Mr.
                                                                     Mr. Dua’s table.
                                                                         Dua's table.
20    Allowing Mr. Dua to use the monitor would speed the overall expediency of the trial
21    by making
      by making Defendants’ presentation of the evidence more efficient and reduce lag
                Defendants' presentation
22    time between calling up documents.
23          Defendants understand that a Court Order is required to allow Mr. Dua to use
24    this non-court-provided monitor during trial. Therefore, Defendants respectfully
25    request that the Court approve the attached order to allow this accommodation.
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                              PROPOSED ORDER
        DEFENDANTS MOTION AND PROPOSED  ORDER TO PERMIT TRIAL
                                              TO PERMIT TRIAL TECHNICIAN’S
                                                              TECHNICIAN'S
                           USE OF CERTAIN TECHNOLOGY
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 1                                          Respectfully submitted,
 2    Dated: May 20, 2022                   MINTZ, LEVIN, COHN, FERRIS,
 3                                          GLOVSKY
                                            GLOVSICY AND POPEO, P.C.

 4                                          /s/ Randy K
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 5                                          Randy K. Jones
                                            Daniel J. Goodrich (Pro Hac)
 6                                          Ryan Dougherty (Pro Hac)
 7                                                    for Mark Manoogian
                                            Attorneysfor

 8    Dated: May 20, 2022                   WEICHERT, MUNK &
 9                                          GOLDSTEIN, P.C.
10                                          /s/ Jessica C. Munk
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                                            David W. Wiechert
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      Dated: May 20, 2022                   BIRD MARELLA BOXER
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15                                          LINCENBERG RHOW P.C.
16                                          /s/ Gary S. Lincenberg
17                                          Gary S. Lincenberg
                                            Nicole Rodriguez Van Dyk
18                                          Darren L. Patrick
19                                          Alexis A. Wiseley
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20    Dated: May 20, 2022                   BIENERT KATZMAN LITTRELL
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23                                          Whitney Z. Bernstein
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                                            James D. Riddet
25                                          Carlos A. Nevarez
                                                      for Mohammed Abdul
                                            Attorneysfor
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                                            Qayuum
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                                        3
                              PROPOSED ORDER
        DEFENDANTS MOTION AND PROPOSED  ORDER TO PERMIT TRIAL
                                              TO PERMIT TRIAL TECHNICIAN’S
                                                              TECHNICIAN'S
                           USE OF CERTAIN TECHNOLOGY
     Case 3:18-cr-04683-GPC Document 435 Filed 05/20/22 PageID.6592 Page 4 of 5




 1          CERTIFICATION OF AUTHORIZATION TO SIGN SIGNATURE
 2          The undersigned counsel of record for Defendant Mark Manoogian certifies
 3    that the content of this document is acceptable to each of the Defendants'
                                                              of the Defendants’ counsel
                                                                                 counsel
 4    whose electronic signature appears thereon, and that I have obtained their
 5    authorization to sign this document on their behalf.
 6
 7                                                           K. Jones
                                                   /s/ Randy K
                                                   Randy K. Jones
 8
                                                   Attorney for Mark Manoogian
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                              PROPOSED ORDER
        DEFENDANTS MOTION AND PROPOSED  ORDER TO PERMIT TRIAL
                                              TO PERMIT TRIAL TECHNICIAN’S
                                                              TECHNICIAN'S
                           USE OF CERTAIN TECHNOLOGY
     Case 3:18-cr-04683-GPC Document 435 Filed 05/20/22 PageID.6593 Page 5 of 5




 1                              CERTIFICATE OF SERVICE
 2          Counsel for the Defendant certifies that the foregoing pleading has been
 3    electronically served on the following parties by virtue of their registration with the
 4    CM/ECF system:
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                                                                K. Jones
                                                      /s/ Randy K
20                                                    Randy K. Jones
21                                                    Attorney for Mark Manoogian

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                                                  1
                                     CERTIFICATE OF SERVICE
